                   IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


MICHAEL ANTWIADJEI


               Plaintiff,

V.                                             CIVIL ACTION l:20cvl098


ALEJANDRO MAYORKAS,in his official
capacity as Secretary ofHomeland Security

               Defendant.



                                          ORDER


               This matter is before the Court on remand from the Fourth Circuit Court of


Appeals with instructions. In accordance with the Judgment of the Court of Appeals entered on

February 7, 2023(Dkt. 31) it is hereby ORDERED:

               That the Memorandum Opinion and Judgment Order entered in this case on

March 23,2021 (Dkts. 25 and 24 respectively) are hereby VACATED; and it is further

ORDERED


               That the Petitioner's Motion for Summary Judgment(Dkt. 9)is hereby

GRANTED and the Respondents' Motion for Summary Judgment(Dkt. 14)is hereby DENIED.

Judgment is hereby entered in favor of the Petitioner, Michael Antwi Adjei.

               IT IS SO ORDERED.




                                            Liam O'Oi
                                            United States District Judge

Alexandria Virginia
June 8, 2023
